                                          Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 1 of 30 Page ID #:357




                                                                         1   COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         2
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                                                                         6
                                                                             Attorneys for Defendant, COUNTY OF LOS ANGELES
                                                                         7

                                                                         8                        UNITED STATES DISTRICT COURT
                                                                         9
                                                                                       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                        10
                                                                             DANIEL NERSOYAN,                          CASE NO. CV19-08109 SVW (MAAx)
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                                Plaintiff,             DEFENDANT’S SEPARATE
                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                                                       STATEMENT OF UNDISPUTED
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13               v.                            MATERIAL FACTS AND
                                                                        14                                             CONCLUSIONS OF LAW
                                                                             COUNTY OF LOS ANGELES, a
                                                                        15   county corporation; COUNTY OF LOS
                                                                             ANGELES SHERIFF’S                         [Filed Concurrently with Motion for
                                                                        16   DEPARTMENT, a public entity;              Summary Judgment, Separate Statement
                                                                             SHERIFF JAMES MCDONNELL, in               of Undisputed Facts, Appendix of
                                                                        17   his official capacity and as an
                                                                             individual; DEPUTY KENNETH                Exhibits, Declarations and (Proposed)
                                                                        18   COLLINS, individually and in his          Order]
                                                                             official capacity as a Deputy, and
                                                                        19   DOES 1 through 10, inclusive
                                                                                                                       Date: November 30, 2020
                                                                        20                      Defendants.            Time: 1:30 p.m.
                                                                                                                       Dept.: 10A
                                                                        21

                                                                        22                                             Action Filed: September 18, 2019
                                                                                                                       Trial Date: January 12, 2021
                                                                        23

                                                                        24

                                                                        25         Defendant COUNTY OF LOS ANGELES respectfully submits this Separate
                                                                        26   Statement of Uncontroverted Facts and Conclusions of Law in support of its
                                                                        27
                                                                             Motion for Summary Judgment or, in the alternative, Motion for Partial Summary
                                                                        28

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                                                                                              SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 2 of 30 Page ID #:358




                                                                         1   Judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure.
                                                                         2
                                                                                            FACTS COMMON TO ALL CAUSES OF ACTION
                                                                         3
                                                                               Uncontroverted Material Facts and        Plaintiff’s Responses and Supporting
                                                                         4
                                                                                      Supporting Evidence                            Evidence
                                                                         5

                                                                         6    1. Plaintiff brings this lawsuit based
                                                                         7    on a theft allegedly occurring on May
                                                                         8    28, 2014.
                                                                         9    [Plaintiff’s First Amended Complaint
                                                                        10    (FAC), Docket Document No. 1, ¶ 29]
                                                                        11    2. Nersoyan alleges that his
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                                                                        12    unidentified “colleague/employee,” an
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                                                                        13    unidentified “broker” and an
                                                                        14    unidentified associate of the broker,
                                                                        15    while in possession of plaintiff’s cash
                                                                        16    in an amount exceeding $150,000,
                                                                        17    were improperly stopped by defendant
                                                                        18    former deputy Kenneth Collins, the
                                                                        19    cash was seized, and at least one
                                                                        20    person was taken into custody.
                                                                        21

                                                                        22    [FAC, Docket Document No. 1, ¶ 29;
                                                                        23    Exhibit A, Plaintiff’s Deposition,
                                                                        24    41:16-42:2, 43:3-9, 43:24-44:14,
                                                                        25    45:10-19, 47:21-48:10,50-2-4, 50:14-
                                                                        26    25, 65:6-9]
                                                                        27    3. Plaintiff alleges he soon thereafter
                                                                        28

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                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 3 of 30 Page ID #:359




                                                                         1    called the Los Angeles County
                                                                         2    Sheriff’s Department (LASD) to
                                                                         3    complain about the theft, but the
                                                                         4    LASD had no interest in investigating
                                                                         5    his complaint and represented that it
                                                                         6    had no information about the alleged
                                                                         7    theft.
                                                                         8

                                                                         9    [FAC, Docket Document No. 1, ¶ 30
                                                                        10    and 31]
                                                                        11    4. Plaintiff alleges that he has
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                                                                        12    submitted multiple claims to the
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                                                                        13    County that have been ignored related
                                                                        14    to this incident.
                                                                        15

                                                                        16    [FAC, Docket Document No. 1, ¶ 17
                                                                        17    and 19]
                                                                        18    5. Plaintiff asserts that the County
                                                                        19    misled him by denying that any
                                                                        20    County personnel had been involved.
                                                                        21

                                                                        22    [FAC, Docket Document No. 1, ¶ 19,
                                                                        23    25, 30, 32, 33 and 78]
                                                                        24    6. On May 28, 2014, former LASD
                                                                        25    deputy Kenneth Collins conducted a
                                                                        26    bogus traffic stop of a vehicle and
                                                                        27    took possession of cash which plaintiff
                                                                        28

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                                                                                              SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 4 of 30 Page ID #:360




                                                                         1    claims belonged to him.
                                                                         2

                                                                         3    [FAC, Docket Document No. 1, ¶ 23
                                                                         4    and 29; Exhibit A, Plaintiff’s
                                                                         5    Deposition, 41:16-42:2, 43:3-9, 47:21-
                                                                         6    48:10, 65:6-9, 81:6-82:6]
                                                                         7    7. Plaintiff admits that the broker and
                                                                         8    his associate to whom he entrusted the
                                                                         9    money, helped set up the theft with
                                                                        10    Collins.
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12    [Exhibit A, Plaintiff’s Deposition,
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                                                                        13    51:1-5, 61:19-62:1]
                                                                        14    8. Plaintiff has been inconsistent about
                                                                        15    the amount of cash allegedly stolen,
                                                                        16    claiming it was between $150,000 and
                                                                        17    $160,000.
                                                                        18

                                                                        19    [FAC, Docket Document No. 1, ¶ 1,
                                                                        20    22, and 29; Exhibit A, Plaintiff’s
                                                                        21    Deposition, 43:24-44:14]
                                                                        22    9. Plaintiff has provided no
                                                                        23    documentary proof that the money
                                                                        24    was his or that he had any legal
                                                                        25    entitlement to the allegedly stolen
                                                                        26    cash.
                                                                        27    [Exhibit A, Plaintiff’s Deposition,
                                                                        28

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                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 5 of 30 Page ID #:361




                                                                         1    42:7-14, 47:25-48:10, 67:11-68:1,
                                                                         2    113:9-114:13]
                                                                         3    10. Plaintiff claims he gave the cash to
                                                                         4    a “broker” to purchase a diamond
                                                                         5    necklace. He did not know where the
                                                                         6    necklace was located and had not
                                                                         7    vetted the authenticity of the necklace.
                                                                         8

                                                                         9    [Exhibit A, Plaintiff’s Deposition,
                                                                        10    47:7-48:1, 48:7-10, 65:6-17, 67:11-
                                                                        11    68:1]
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12    11. The broker, an associate of the
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                                                                        13    broker, and plaintiff’s
                                                                        14    colleague/employee, Hyrum Dubon,
                                                                        15    left plaintiff’s office with the cash on
                                                                        16    the afternoon of May 28, 2014. They
                                                                        17    were to return with the necklace
                                                                        18    within one to two hours.
                                                                        19

                                                                        20    [Exhibit A, Plaintiff’s Deposition,
                                                                        21    65:6-17]
                                                                        22    12. When his colleague/employee
                                                                        23    failed to return with the necklace,
                                                                        24    Nersoyan got nervous and began
                                                                        25    calling him, but Dubon did not answer
                                                                        26    his phone.
                                                                        27

                                                                        28

                                                                             ______________________________________________________________________________
                                                                                              SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 6 of 30 Page ID #:362




                                                                         1    [Exhibit A, Plaintiff’s Deposition,
                                                                         2    73:14-74:12]
                                                                         3    13. Shortly thereafter, the broker
                                                                         4    called Nersoyan to report he was
                                                                         5    nervous as he was getting pulled over
                                                                         6    by a Sheriff’s deputy.
                                                                         7

                                                                         8    [Exhibit A, Plaintiff’s Deposition,
                                                                         9    73:14-74:12, 75:4-7]
                                                                        10    14. The next call Nersoyan got was
                                                                        11    from Dubon who told him a male
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12    African American sheriff’s deputy had
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                                                                        13    taken the cash and taken the broker’s
                                                                        14    associate into custody.
                                                                        15

                                                                        16    [Exhibit A, Plaintiff’s Deposition,
                                                                        17    81:6-82:6, 84:17-85:9]
                                                                        18    15. On May 28, 2014, Nersoyan called
                                                                        19    information to obtain the phone
                                                                        20    numbers for the 3-4 Sheriff stations
                                                                        21    close to where he was told the theft
                                                                        22    occurred on East Slauson Blvd. He
                                                                        23    called each station on May 28, 2014
                                                                        24    and asked whoever answered the
                                                                        25    phone if a black deputy had brought in
                                                                        26    an arrestee with a large amount of
                                                                        27    cash. Each station denied any such
                                                                        28

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                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 7 of 30 Page ID #:363




                                                                         1    activity.
                                                                         2

                                                                         3    [Exhibit A, Plaintiff’s Deposition,
                                                                         4    82:9-83:2, 83:8-11, 83:16-84:3, 85:10-
                                                                         5    16, 86:1-87:2, 103:18-105:3]
                                                                         6    16. Plaintiff admits that Collins never
                                                                         7    made a report about the May 28, 2014
                                                                         8    incident and never booked the cash
                                                                         9    into evidence.
                                                                        10

                                                                        11    [FAC, Docket Document No. 1, ¶ 82
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                                                                        12    and 83; Exhibit A, Plaintiff’s
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                                                                        13    Deposition, 108:8-12]
                                                                        14    17. Plaintiff also admits that no station
                                                                        15    misled him, and each Sheriff’s station
                                                                        16    was telling him the truth on May 28,
                                                                        17    2014 when they denied any arrests
                                                                        18    involving a large amount of cash had
                                                                        19    occurred out of their station.
                                                                        20

                                                                        21    [Exhibit A, Plaintiff’s Deposition,
                                                                        22    110:15-23, 125:10-126:8, 126:21-25]
                                                                        23    18. Plaintiff also admits that he never
                                                                        24    got any information from any source
                                                                        25    that the Sheriff’s Department had any
                                                                        26    knowledge prior to May 28, 2014 that
                                                                        27    Collins intended to steal the cash.
                                                                        28

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                                                                                               SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 8 of 30 Page ID #:364




                                                                         1    [Exhibit A, Plaintiff’s Deposition,
                                                                         2    107:12-108:2, 151:16-25]
                                                                         3    19. Collins has testified that no one
                                                                         4    from the Sheriff’s Department knew
                                                                         5    about his illegal activities.
                                                                         6

                                                                         7    [Exhibit B, Deposition of
                                                                         8    Collins,74:9-18]
                                                                         9    20. Nersoyan never called 911 or went
                                                                        10    to any Sheriff’s station to make a theft
                                                                        11    report or demand that an investigation
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                                                                        12    be opened. He never sent any letters or
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                                                                        13    emails to the Sheriff’s Department
                                                                        14    about the theft.
                                                                        15

                                                                        16    [Exhibit A, Plaintiff’s Deposition,
                                                                        17    85:10-18, 105:8-106:1, 110:9-23,
                                                                        18    124:17-21]
                                                                        19    21. The next day, May 29, 2014,
                                                                        20    Nersoyan sent his other employee,
                                                                        21    Andy Bagdasarian, to the scene of the
                                                                        22    theft and Andy obtained two
                                                                        23    videotapes, one from a gas station and
                                                                        24    one from the traffic stop.
                                                                        25

                                                                        26    [Exhibit A, Plaintiff’s Deposition,
                                                                        27    106:2-16, 108:25-109:13, 109:17-
                                                                        28

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                                                                                              SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                          Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 9 of 30 Page ID #:365




                                                                         1    110:5]
                                                                         2    22. Despite the claims in the FAC,
                                                                         3    plaintiff admits that he never gave
                                                                         4    these videotapes to or discussed the
                                                                         5    tapes with anyone at the Sheriff’s
                                                                         6    Department.
                                                                         7

                                                                         8    [FAC, Docket Document No. 1, ¶ 31
                                                                         9    and 32; Exhibit A, Plaintiff’s
                                                                        10    Deposition, 110:24-111:4, 114:18-23,
                                                                        11    120:6-15, 125:3-20, 143:22-144:9]
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                                                                        12    23. Instead, in June of 2014, Nersoyan
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                                                                        13    gave the tapes to the FBI which
                                                                        14    promised to investigate the matter.
                                                                        15

                                                                        16    [Exhibit A, Plaintiff’s Deposition,
                                                                        17    111:2-22, 124:17-125:20, 127:1-18]
                                                                        18    24. Plaintiff claims the FBI
                                                                        19    encouraged him to have no contact
                                                                        20    with the Sheriff’s Department to
                                                                        21    protect their investigation.
                                                                        22

                                                                        23    [Exhibit A, Plaintiff’s Deposition,
                                                                        24    124:17-24, 128:4-19, 130:10-132:2;
                                                                        25    135:6-25]
                                                                        26    25. Plaintiff called the FBI several
                                                                        27    times between June and November of
                                                                        28

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                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 10 of 30 Page ID
                                                                                                #:366



                                                                         1    2014, but the FBI did not seem to be
                                                                         2    progressing in their investigation.
                                                                         3

                                                                         4    [Exhibit A, Plaintiff’s
                                                                         5    Deposition,130:10-132:2]
                                                                         6    26. Between May 28, 2014 and
                                                                         7    November 14, plaintiff placed only
                                                                         8    one other call to an unidentified
                                                                         9    Sheriff’s station to express his anger
                                                                        10    about the alleged theft.
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12    [Exhibit A, Plaintiff’s Deposition,
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                                                                        13    121:2-124:21]
                                                                        14    27. Plaintiff had no other
                                                                        15    communication with anyone in the
                                                                        16    Sheriff’s Department between May
                                                                        17    28, 2014 and November 18, 2014.
                                                                        18

                                                                        19    [Exhibit A, Plaintiff’s Deposition,
                                                                        20    121:6-124:21]
                                                                        21    28. By November of 2014, Nersoyan
                                                                        22    was so frustrated with the FBI that on
                                                                        23    November 18, 2014, he and his
                                                                        24    attorney submitted a Government Tort
                                                                        25    Claim to the County alleging that an
                                                                        26    unidentified deputy stole $158,000
                                                                        27    from one of his employees during a
                                                                        28

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                                                                                              SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 11 of 30 Page ID
                                                                                                #:367



                                                                         1    traffic stop on May 28, 2014.
                                                                         2    [Exhibit A, Plaintiff’s Deposition,
                                                                         3    115:21-116:4, 121:2-5, 127:1-18,
                                                                         4    128:4-19, 130:10-132:20; Exhibit C,
                                                                         5    Government Tort Claim; Inlow Decl.,
                                                                         6    ¶ 5]
                                                                         7    29. Then Sergeant, now Lieutenant
                                                                         8    Douglas Kimura, was assigned to
                                                                         9    investigate the allegations of the
                                                                        10    claim.
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12    [Declaration of Lt. Kimura, ¶ 3-23]
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                                                                        13    30. As Nersoyan’s claim had provided
                                                                        14    only a partial vehicle identification
                                                                        15    number, Sgt. Kimura initially used
                                                                        16    department resources to determine
                                                                        17    which patrol car(s) could have been
                                                                        18    involved.
                                                                        19

                                                                        20    [Declaration of Lt. Kimura, ¶ 7]
                                                                        21    31. Sgt. Kimura also tried to contact
                                                                        22    both Nersoyan and the alleged
                                                                        23    employee on several occasions
                                                                        24    without success. As Nersoyan never
                                                                        25    called him back, Sgt. Kimura sent him
                                                                        26    a certified letter on December 16,
                                                                        27    2014.
                                                                        28

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                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 12 of 30 Page ID
                                                                                                #:368



                                                                         1    [Declaration of Lt. Kimura, ¶ 9-11;
                                                                         2    Exhibit D, Certified Letter]
                                                                         3    32. On December 17, 2014, Sgt.
                                                                         4    Kimura spoke with Nersoyan by
                                                                         5    telephone and learned the alleged May
                                                                         6    28, 2014 incident was captured on
                                                                         7    videotape which was in the possession
                                                                         8    of Mr. Nersoyan’s attorney. When Sgt.
                                                                         9    Kimura requested a copy of the
                                                                        10    videotape, Nersoyan terminated the
                                                                        11    call and referred Sgt. Kimura to his
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                                                                        12    attorney.
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                                                                        13

                                                                        14    [Declaration of Lt. Kimura, ¶ 14-15;
                                                                        15    Exhibit E, Audiotape of phone call
                                                                        16    between Kimura and Nersoyan]
                                                                        17    33. Between December 17, 2014 and
                                                                        18    January 6, 2015, Sgt. Kimura left
                                                                        19    several messages for Nersoyan’s
                                                                        20    attorney without reaching him. On
                                                                        21    January 6, 2015, Sgt. Kimura called
                                                                        22    Claimant Nersoyan again and advised
                                                                        23    him that he had not been able to
                                                                        24    contact his counsel.
                                                                        25

                                                                        26    [Declaration of Lt. Kimura, ¶ 16;
                                                                        27    Exhibit F, Audiotape of second call
                                                                        28

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                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 13 of 30 Page ID
                                                                                                #:369



                                                                         1    between Kimura and Nersoyan]
                                                                         2    34. On January 13, 2015, Sgt. Kimura
                                                                         3    interviewed Collins who stated he had
                                                                         4    been assigned to the Emerging
                                                                         5    Leaders Academy (ELA) program
                                                                         6    since 2012. Collins denied any
                                                                         7    involvement with the alleged theft of
                                                                         8    May 28, 2014, asserting that he had
                                                                         9    never made a traffic stop while
                                                                        10    assigned to ELA.
                                                                        11
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                                                                        12    [Declaration of Lt. Kimura, ¶ 17;
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                                                                        13    Exhibit B, Collins Deposition, 74:9-
                                                                        14    18]
                                                                        15     35. On January 16, 2015, the County
                                                                        16    mailed Nersoyan a letter denying his
                                                                        17    November 2014 claim for damages.
                                                                        18    The claim denial letter advised
                                                                        19    Nersoyan that he had six (6) months
                                                                        20    from the date of the denial in which to
                                                                        21    file suit.
                                                                        22

                                                                        23    [FAC, Docket Document No. 1, ¶ 18;
                                                                        24    Exhibit G, Claim Denial Letter; Inlow
                                                                        25    Decl., ¶ 6]
                                                                        26    36. Having received no additional
                                                                        27    information or telephone calls from
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 14 of 30 Page ID
                                                                                                #:370



                                                                         1    Nersoyan or his attorney, Sgt. Kimura
                                                                         2    mailed a second letter to Nersoyan on
                                                                         3    January 27, 2015, advising him that
                                                                         4    his investigative efforts had been
                                                                         5    exhausted due to Nersoyan’s lack of
                                                                         6    cooperation and instructing him to
                                                                         7    contact the Los Angeles Police
                                                                         8    Department regarding the claim as the
                                                                         9    location of the alleged incident was
                                                                        10    within the jurisdiction of the LAPD
                                                                        11    Newton Division.
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
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                                                                        13    [Declaration of Lt. Kimura, ¶ 18;
                                                                        14    Exhibit H, Second Certified Letter]
                                                                        15    37. In his deposition, however,
                                                                        16    Nersoyan denied having any contact
                                                                        17    whatsoever with anyone at the
                                                                        18    Sheriff’s department after he and his
                                                                        19    attorney filed his claim, denied ever
                                                                        20    speaking with Sgt. Kimura, and denied
                                                                        21    getting the two certified letters,
                                                                        22    although he confirmed they were sent
                                                                        23    to the correct address.
                                                                        24

                                                                        25    [Exhibit A, Plaintiff’s Deposition,
                                                                        26    132:18-134:19]
                                                                        27    38. Plaintiff and his attorney
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                              SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 15 of 30 Page ID
                                                                                                #:371



                                                                         1    considered filing a lawsuit against the
                                                                         2    LASD in 2015 but did not. Nothing by
                                                                         3    the Sheriff’s Department dissuaded
                                                                         4    plaintiff from filing a lawsuit in 2014
                                                                         5    or 2015.
                                                                         6

                                                                         7    [Exhibit A, Plaintiff’s Deposition,
                                                                         8    130:10-132:17, 135:6-136:4]
                                                                         9    39. On January 29, 2015, Claimant’s
                                                                        10    attorney called Sgt. Kimura and stated
                                                                        11    he had the videotape. Sgt. Kimura
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                                                                        12    arranged to go to the attorney’s office
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                                                                        13    on February 5, 2015 to view the tape.
                                                                        14    However, on February 3, 2015 the
                                                                        15    attorney’s office left a voice message
                                                                        16    cancelling the meeting. Sgt. Kimura
                                                                        17    attempted to reschedule but was not
                                                                        18    provided a new date.
                                                                        19

                                                                        20    [Declaration of Lt. Kimura, ¶ 19-21;
                                                                        21    Exhibit I, Voicemail Transcript]
                                                                        22    40. As of February 10, 2015, Sgt.
                                                                        23    Kimura had not heard further from the
                                                                        24    attorney’s office. Based on the
                                                                        25    available information and the lack of
                                                                        26    cooperation by Nersoyan, Sgt. Kimura
                                                                        27    determined there was insufficient
                                                                        28

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                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 16 of 30 Page ID
                                                                                                #:372



                                                                         1    evidence to substantiate Claimant
                                                                         2    Nersoyan’s claim or to identify the
                                                                         3    allegedly involved deputy.
                                                                         4

                                                                         5    [Declaration of Lt. Kimura, ¶ 22-23]
                                                                         6    41. Nersoyan admits he had no contact
                                                                         7    with anyone at the Sheriff’s
                                                                         8    Department in 2015, 2016, 2017 or
                                                                         9    2018. Nersoyan also admits he took no
                                                                        10    steps to pursue his claim against the
                                                                        11    County in 2015, 2016, 2017 or 2018.
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                                                                        12
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                                                                        13    [Exhibit A, Plaintiff’s Deposition,
                                                                        14    136:25-138:10, 138:18-139:5]
                                                                        15    42. In 2017, LASD Detective Tim
                                                                        16    Berns, who is now retired, was
                                                                        17    assigned to Fraud and Cyber Crimes
                                                                        18    working on a joint ID Theft Task
                                                                        19    Force with the FBI, Secret Service,
                                                                        20    and Customs. A Reliable Confidential
                                                                        21    Informant (RCI) told Det. Berns about
                                                                        22    a then unidentified “dirty cop” initially
                                                                        23    believed to be with either the
                                                                        24    Riverside or San Bernardino Sheriff’s.
                                                                        25    Det. Berns shared this information
                                                                        26    with the FBI Agent on his joint
                                                                        27    taskforce.
                                                                        28

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                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 17 of 30 Page ID
                                                                                                #:373



                                                                         1    [Declaration of Det. Berns, ¶ 1-5]
                                                                         2    43. A few weeks later the RCI
                                                                         3    determined the name of the dirty
                                                                         4    officer was Kenneth Collins. Det.
                                                                         5    Berns ran the name through the LASD
                                                                         6    database and determined Collins was
                                                                         7    with the LASD. Det. Berns shared this
                                                                         8    information with his sergeant, his
                                                                         9    captain, and the FBI.
                                                                        10

                                                                        11    [Declaration of Det. Berns, ¶ 6]
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                                                                        12    44. While Det. Berns assisted the FBI
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                                                                        13    as needed, the FBI conducted the
                                                                        14    investigation and ran the sting
                                                                        15    operation which resulted in the arrests
                                                                        16    of Collins and others, including Grant
                                                                        17    Valencia, on January 16, 2018. Both
                                                                        18    Collins and Valencia were convicted
                                                                        19    of federal crimes and Collins
                                                                        20    continues to be incarcerated in federal
                                                                        21    custody in Texas.
                                                                        22

                                                                        23    [Declaration of Det. Berns, ¶ 7-8;
                                                                        24    Exhibit B, Deposition of Collins, 8:24-
                                                                        25    9:2; Exhibit J, Ruling on Valencia
                                                                        26    MSJ]
                                                                        27    45. Valencia filed a lawsuit against the
                                                                        28

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                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 18 of 30 Page ID
                                                                                                #:374



                                                                         1    County on December 14, 2018
                                                                         2    alleging negligent supervision and
                                                                         3    retention and a Monell claim for
                                                                         4    failure to investigate which he claimed
                                                                         5    resulted in his arrest with Collins. The
                                                                         6    County’s motion for summary
                                                                         7    judgment was granted in full on
                                                                         8    February 24, 2020. Valencia has filed
                                                                         9    a notice of appeal but has yet to file
                                                                        10    his opening brief.
                                                                        11
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                                                                        12    [Exhibit J, Ruling on Valencia MSJ;
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                                                                        13    Inlow Decl., ¶ 7-8]
                                                                        14    46. Nersoyan testified that while he
                                                                        15    was in federal custody at the
                                                                        16    Metropolitan Detention Center (MDC)
                                                                        17    on charges of being a felon in
                                                                        18    possession of a gun and conspiracy to
                                                                        19    sell heroin from June of 2017 to
                                                                        20    October of 2018, the FBI approached
                                                                        21    him and told him that Kenneth Collins
                                                                        22    stole his money on May 28, 2014.
                                                                        23

                                                                        24    [Exhibit A, Plaintiff’s Deposition,
                                                                        25    16:2-17:18, 137:16-138:10, 139:18-
                                                                        26    25, 143:2-21]
                                                                        27    47. After he was released from prison,
                                                                        28

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                                                                                              SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 19 of 30 Page ID
                                                                                                #:375



                                                                         1    Nersoyan through his attorney,
                                                                         2    Michael Devereaux, on April 4, 2019
                                                                         3    submitted an Amended Government
                                                                         4    [Exhibit A, Plaintiff’s Deposition,
                                                                         5    141:10-15, 161:13-18; Exhibit K,
                                                                         6    Amended Government Tort Claim;
                                                                         7    Inlow Decl., ¶ 9]
                                                                         8    48. The County denied the Amended
                                                                         9    Claim as untimely on April 8, 2019.
                                                                        10

                                                                        11    [Exhibit L, Denial of Amended Claim;
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                                                                        12    Inlow Decl., ¶ 10]
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                                                                        13    49. At all times relevant to this matter,
                                                                        14    the County had written policies
                                                                        15    regarding the retention and discipline
                                                                        16    of deputies.
                                                                        17

                                                                        18    [Declaration of Lt. Kopperud, ¶ 5-9]
                                                                        19    50. Per written policy, all known
                                                                        20    civilian and personnel complaints
                                                                        21    about deputy personnel were
                                                                        22    investigated and, if warranted, the
                                                                        23    deputy was subject to discipline
                                                                        24    ranging from re-training to termination
                                                                        25    for both on-duty and off-duty
                                                                        26    incidents.
                                                                        27

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                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 20 of 30 Page ID
                                                                                                #:376



                                                                         1    [Declaration of Lt. Kopperud, ¶ 9
                                                                         2    51. Collins served as a combat medic
                                                                         3    in the Army from 1985-1988 and has
                                                                         4    an AA degree in criminal justice. He
                                                                         5    worked as an EMT from 1989-2001
                                                                         6    and then attended the Sheriff’s
                                                                         7    Academy graduating in 2002.
                                                                         8

                                                                         9    [Exhibit B, Deposition of Collins,
                                                                        10    10:7-23, 11:5-18]
                                                                        11    52. Collins had various duty
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                                                                        12    assignments until he was loaned from
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                                                                        13    the Community Oriented Policing
                                                                        14    (COPS) Bureau to ELA for about two
                                                                        15    years starting in 2012. From 2014 to
                                                                        16    2016, he was assigned to patrol out of
                                                                        17    the Alta Dena station. From 2016 until
                                                                        18    his arrest in January of 2018, he was
                                                                        19    assigned to County Services.
                                                                        20

                                                                        21    [Exhibit B, Deposition of Collins,
                                                                        22    11:19-25, 12:8-24, 13:8-15, 17:18-25,
                                                                        23    32:7-22]
                                                                        24    53. In the fifteen years in which
                                                                        25    Collins was employed as a deputy
                                                                        26    Sheriff, he received eight (8) public
                                                                        27    commendations and five (5) Unit
                                                                        28

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                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 21 of 30 Page ID
                                                                                                #:377



                                                                         1    Commander commendations.
                                                                         2

                                                                         3    [Declaration of Lt. Kopperud, ¶ 16]
                                                                         4    54. He was also the subject of six
                                                                         5    civilian complaints, which were all the
                                                                         6    subject of a full inquiry resulting in a
                                                                         7    Watch Commander’s Service
                                                                         8    Comment Report. Aside from routine
                                                                         9    complaints of rude or discourteous
                                                                        10    service, three of the complaints
                                                                        11    alleged theft of money.
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                                                                        12
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                                                                        13    [Declaration of Lt. Kopperud, ¶ 16-17]
                                                                        14    55. In 2007, two suspects alleged
                                                                        15    that Deputy Collins and his partner
                                                                        16    had stolen money from them during
                                                                        17    their arrest. The money had been
                                                                        18    seized and counted in the presence of
                                                                        19    a sergeant and neither suspect
                                                                        20    complained at the time of their
                                                                        21    booking. The conduct of Deputy
                                                                        22    Collins was determined to be
                                                                        23    reasonable regarding that complaint.
                                                                        24

                                                                        25    [Declaration of Lt. Kopperud, ¶ 17]
                                                                        26    56. In 2008, another suspect
                                                                        27    complained that Collins and a
                                                                        28

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                                                                                              SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 22 of 30 Page ID
                                                                                                #:378



                                                                         1    different partner had stolen money
                                                                         2    from a vehicle that had been sent to a
                                                                         3    tow yard. Again, the suspect did not
                                                                         4    complain at the time of booking. After
                                                                         5    an inquiry resulting in a Watch
                                                                         6    Commander’s Service Comment
                                                                         7    Report, no determination was reached.
                                                                         8

                                                                         9    [Declaration of Lt. Kopperud, ¶ 18]
                                                                        10    57. The third claim for theft was by
                                                                        11    Nersoyan in 2014.
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                                                                        12
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                                                                        13    [Declaration of Lt. Kopperud, ¶ 19-20]
                                                                        14

                                                                        15
                                                                                 FACTS SUPPORTING PARTIAL SUMMARY ADJUDICATION OF
                                                                        16
                                                                                                                    ISSUES
                                                                        17

                                                                        18        ISSUE 1:       Plaintiff’s Cause of Action for Fraud Fails
                                                                        19
                                                                             Defendant’s Undisputed Material           Opposing Response and Supporting
                                                                        20
                                                                             Facts and Supporting Evidence:            Evidence:
                                                                        21
                                                                             Defendant incorporates Undisputed
                                                                        22

                                                                        23
                                                                             Material Facts and Supporting

                                                                        24
                                                                             Evidence Nos. 1 to 57 as though fully

                                                                        25
                                                                             set forth herein.

                                                                        26

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                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 23 of 30 Page ID
                                                                                                #:379



                                                                         1         ISSUE 2:      Plaintiff’s Cause of Action for Conversion Fails
                                                                         2
                                                                             Defendant’s Undisputed Material           Opposing Response and Supporting
                                                                         3   Facts and Supporting Evidence:            Evidence:
                                                                         4
                                                                             Defendant incorporates Undisputed
                                                                         5
                                                                             Material Facts and Supporting
                                                                         6
                                                                             Evidence Nos. 1 to 57 as though fully
                                                                         7
                                                                             set forth herein.
                                                                         8

                                                                         9
                                                                                  ISSUE 3:       Plaintiff’s Cause of Action for IIED Fails
                                                                        10

                                                                        11   Defendant’s Undisputed Material           Opposing Response and Supporting
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                                                                        12
                                                                             Facts and Supporting Evidence:            Evidence:
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                                                                        13   Defendant incorporates Undisputed
                                                                        14   Material Facts and Supporting
                                                                        15   Evidence Nos. 1 to 57 as though fully
                                                                        16   set forth herein.
                                                                        17

                                                                        18
                                                                                  ISSUE 4:       Plaintiff’s Cause of Action for Trespass Fails
                                                                        19
                                                                             Defendant’s Undisputed Material           Opposing Response and Supporting
                                                                        20
                                                                             Facts and Supporting Evidence:            Evidence:
                                                                        21
                                                                             Defendant incorporates Undisputed
                                                                        22
                                                                             Material Facts and Supporting
                                                                        23
                                                                             Evidence Nos. 1 to 57 as though fully
                                                                        24

                                                                        25
                                                                             set forth herein.

                                                                        26

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                                                                                              SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 24 of 30 Page ID
                                                                                                #:380



                                                                         1                                CONCLUSIONS OF LAW
                                                                         2

                                                                         3
                                                                                   1.     Summary judgment is appropriate when it is demonstrated that there
                                                                         4
                                                                             exists no genuine issue as to any material fact, and that the moving party is entitled
                                                                         5

                                                                         6
                                                                             to judgment as a matter of law. (FRCP 56(c); Adickes v. S.H. Kress & Co. (1970)

                                                                         7   398 U.S. 144, 157; Fortyune v. American Multi- Cinema, Inc.(9th Cir. 2004) 364 F.
                                                                         8   3d 1075, 1080).
                                                                         9         2.     “[W]here the nonmoving party will bear the burden of proof at trial on
                                                                        10
                                                                             a dispositive issue, a summary judgment motion may properly be made in reliance
                                                                        11
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                                                                             solely on the ‘pleadings, depositions, answers to interrogatories, and admissions on
                                                                        12
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                                                                             file.” (Celotex Corp v. Catrett (1986) 477 U.S. 317, 323).
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                                                                        13

                                                                        14         3.     The opposing party may not rely upon mere allegations or denials in
                                                                        15   its pleadings but is required to tender evidence of specific facts in the form of
                                                                        16   affidavits and/or admissible discovery material, in support of its contention that the
                                                                        17
                                                                             dispute exists. (FRCP 56 (c); Matsushita Elec. Indus. Co. v. Zenith Radio Corp.
                                                                        18
                                                                             (1986) 475 U.S. 574, 586).
                                                                        19

                                                                        20
                                                                                   4.     Conclusory allegations unsupported by factual data will not create a

                                                                        21   triable issue of fact allowing a party to survive a summary judgment motion.
                                                                        22   (Marks v. U.S. (9th Cir. 1978) 578 F.2d 261, 263; FTC v. Publ’g Clearing House,
                                                                        23   Inc. (9th Cir. 1996) 104 F.3d 1168, 117).
                                                                        24
                                                                                  5.       A federal claim accrues when the plaintiff knows or has reason to
                                                                        25

                                                                        26   know of the injury which is the basis of the action.” (Bagley v. CMC Real Estate

                                                                        27

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                                                                                               SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 25 of 30 Page ID
                                                                                                #:381



                                                                         1   Corp., 923 F.2d 758, 760 (9th Cir. 1991) (citations and internal quotations
                                                                         2
                                                                             omitted); see also Wallace v. Kato, 549 U.S. 384, 388 (2007).
                                                                         3

                                                                         4         6.      The statute of limitations for federal 1983 claims is two years. (Mills

                                                                         5   v. City of Covina, 921 F.3d 1161, 1166 (9th Cir. 2019); Canatella v. Van De Kamp,
                                                                         6
                                                                             486 F.3d 1128, 1132 (9th Cir. 2007).
                                                                         7

                                                                         8          7.     In California, the statute of limitations for section 1983 actions is

                                                                         9   tolled by Cal. Gov't Code § 945.3 while criminal charges are pending. Harding v.
                                                                        10
                                                                             Galceran, 889 F.2d 906, 908 (9th Cir. 1989); Torres v. City of Santa Ana, 108
                                                                        11
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                                                                        12   F.3d 224, 226 (9th Cir. 1997).
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                                                                        13          8.     Plaintiff must plead the following elements of equitable estoppel: 1)
                                                                        14
                                                                             knowledge of the true facts by the party to be estopped, 2) intent to induce reliance
                                                                        15

                                                                        16   or actions giving rise to a belief in that intent, 3) ignorance of the true facts by the
                                                                        17   relying party, and 4) detrimental reliance. (Estate of Amaro v. City of Oakland,
                                                                        18
                                                                             653 F.3d 808, 813 (9th Cir. 2011), citing Bolt v. U.S., 944 F.2d 603, 609 (9th Cir.
                                                                        19

                                                                        20   1991). Moreover, when estoppel is sought against the government, “there must be
                                                                        21   affirmative misconduct (not mere negligence) and a serious injustice outweighing
                                                                        22
                                                                             the damage to the public interest of estopping the government.” Id.)
                                                                        23

                                                                        24          9.     To succeed on the Monell claim, plaintiff must produce evidence to
                                                                        25   establish three elements: (1) the individual defendant deputies acted under color of
                                                                        26
                                                                             law; (2) the actions of the individual defendant deputies deprived the plaintiffs of
                                                                        27

                                                                        28   their particular rights under the United States Constitution; and (3) the individual

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                                                                                              SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 26 of 30 Page ID
                                                                                                #:382



                                                                         1   defendant deputies acted pursuant to an expressly adopted official policy or a
                                                                         2
                                                                             longstanding practice or custom of the County. (See 9th CIR. MODEL JURY INSTR.,
                                                                         3

                                                                         4   9.5; Oviatt v. Pearce, 954 F.2d 1470, 1474 (9th Cir. 1992).

                                                                         5         10.    It is well-established that a local governmental entity, such as the
                                                                         6
                                                                             County, cannot be liable for damages pursuant to 42 U.S.C. §1983 based solely
                                                                         7

                                                                         8   upon a theory of respondeat superior. (Monell v. Dept. of Soc. Serv. (1978) 436

                                                                         9   U.S. 658).
                                                                        10
                                                                                   11.    Plaintiff has the burden of proving that an underlying civil rights
                                                                        11
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                                                                        12   violation existed and was caused by a permanent and well-settled official policy or
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                                                                        13   custom of the public entity. (City of St. Louis v. Praprotnik (1988) 485 U.S. 112).
                                                                        14
                                                                                   12.    A municipality can be liable under Section 1983 only where its
                                                                        15

                                                                        16   policies are the moving force behind the constitutional violation. (City of Canton v.
                                                                        17   Harris (1989) 489 U.S. 378, 389; Blair v. City of Pomona (9th Cir. 2000) 223 F.3d
                                                                        18
                                                                             1074).
                                                                        19

                                                                        20         13.    There must be an affirmative link between the policy and the
                                                                        21   particular violation alleged. (Oklahoma v. Tuttle (1995) 471 U.S. 808, 823).
                                                                        22
                                                                                   14.    To establish Monell liability for a failure to train or adequately
                                                                        23

                                                                        24   supervise subordinates, the evidence must show a pattern which amounts to the
                                                                        25   deliberate indifference to rights of persons with whom the inadequately trained or
                                                                        26
                                                                             supervised employees come into contact. (City of Canton, supra; Davis v. City of
                                                                        27

                                                                        28   Ellenburg (9th Cir. 1989) 869 F.2d 1239).

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                                                                                              SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 27 of 30 Page ID
                                                                                                #:383



                                                                         1         15.      There is no liability pursuant to Section 1983 for negligence because
                                                                         2
                                                                             such liability must be predicated upon a deliberate deprivation of constitutional
                                                                         3

                                                                         4   rights by defendant. Neither negligent training of an employee nor a sound

                                                                         5   program occasionally administered negligently constitutes deliberate indifference.
                                                                         6
                                                                             (City of Canton, supra, at 391).
                                                                         7

                                                                         8            16.   Even if there was a violation of plaintiff’s rights, a single isolated

                                                                         9   incident does not establish official policy sufficient to render the municipality
                                                                        10
                                                                             liable under Section 1983. (Trevino v. Gates (9th Cir. 1996) 99 F.3d 911, 918;
                                                                        11
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                                                                        12   Adell v. Las Vegas Metro Pol. Dept. (9th Cir. 2001) 268 F.3d 924).
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                                                                        13         17.      Proof of random acts or isolated incidents of unconstitutional action
                                                                        14
                                                                             by a non-policymaking employee are insufficient to establish the existence of a
                                                                        15

                                                                        16   municipal policy or custom. (McDade v. West (9th Cir. 2000) 223 F.3d 1135,
                                                                        17   1141).
                                                                        18
                                                                                   18.      The Ninth Circuit has also held there is no duty to investigate, but
                                                                        19

                                                                        20   rather, the failure to investigate must involve “another recognized constitutional
                                                                        21   right” to rise to a cognizable claim. (Ogunrinu v. City of Riverside (9th Cir. 2003)
                                                                        22
                                                                             79 F.App’x 961, 962-63; quoting Gomez v. Whitney (9th Cir. 1985) 757 F.2d 1005,
                                                                        23

                                                                        24   1006); Elliot-Park v. Manglona (9th Cir. 2010) 592 F.3d 1003, 1006).
                                                                        25         19.      It is also well-established that any purported negligence is not
                                                                        26
                                                                             actionable pursuant to Section 1983. (Daniels v. Williams (1986) 474 U.S. 327).
                                                                        27

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                                                                                                SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 28 of 30 Page ID
                                                                                                #:384



                                                                         1         20.    Monell liability only attaches for conduct that is “under color of law.”
                                                                         2
                                                                             Griffin v Maryland, 378 U.S. 130, 135 (1964); Johnson v. Knowles, 113 F.3d 1114,
                                                                         3

                                                                         4   117 (9th Cir. 1997); Huffman v. County of Los Angeles, 147 F.3d 1054, 1058 (9th

                                                                         5   Cir. 1998); and Van Ort v. Estate of Stanewich, 92 F.3d 831, 838 (9th Cir. 1996).
                                                                         6
                                                                                   21.    Submission of a timely claim is a condition precedent to a tort action
                                                                         7

                                                                         8   against a public entity. Janis v. State Lottery Comm. (1998) 68 Cal.App.4th 824,

                                                                         9   832; Shirk v. Vista Unified Sch. Dist. (2007) 42 Cal.4th 201, 209).
                                                                        10
                                                                                   22.    The factual circumstances alleged in the claim must correspond to
                                                                        11
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                                                                        12   those alleged in the subsequent lawsuit. If the complaint alleges a factual basis for
                             TEL. (424) 212-7777 | FAX (424) 212-7757
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                                 TORRANCE, CALIFORNIA 90503




                                                                        13   recovery that is not fairly reflected in the written claim, the complaint is subject to
                                                                        14
                                                                             a dispositive motion. Fall River Joint Unified School Dist. v. Superior Court,
                                                                        15

                                                                        16   (1988) 206 Cal.App.3d 431; Crow v. State, 222 Cal.App.3d 192 (1990).
                                                                        17         23.    The lawsuit must be filed within six (6) months of rejection of the tort
                                                                        18
                                                                             claim. (Glorietta Foods, Inc. v. City of San Jose, 147 Cal.App.3d 835 (835).
                                                                        19

                                                                        20         24.    For the taking and injuring of personal property, i.e. conversion, fraud
                                                                        21   and trespass of personal property, the Ninth Circuit has adopted and applied the
                                                                        22
                                                                             statute of limitations from California Code of Civil Procedure Section 338 of three
                                                                        23

                                                                        24   years. Section 338 applies to any action regarding the “taking, detaining, or
                                                                        25   injuring goods or chattels, including an action for the specific recovery of personal
                                                                        26
                                                                             property.” (Cal. Code of Civ. Proc. §338(a); Davies v. Carnation Co., 352 F.2d
                                                                        27

                                                                        28   393, 396 (9th Cir. 1965); Orkin v. Taylor, 487 F.3d 734, 741 (9th Cir. 2007))

                                                                             ______________________________________________________________________________
                                                                                              SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 29 of 30 Page ID
                                                                                                #:385



                                                                         1         25.   The statute of limitations for IIED is two years. (Johnson v. Lucent
                                                                         2
                                                                             Techs., Inc., 653 F. 3d 1000, 1008 (9th Cir. 2011))
                                                                         3

                                                                         4
                                                                             DATED: October 26, 2020        COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         5

                                                                         6                                   By: Laura E. Inlow
                                                                                                             Laura E. Inlow, Esq.
                                                                         7                                   Attorneys for Defendant, COUNTY OF LOS
                                                                         8                                   ANGELES

                                                                         9
                                                                        10

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                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
                                                              Case 2:19-cv-08109-SVW-MAA Document 46-1 Filed 10/26/20 Page 30 of 30 Page ID
                                                                                                #:386



                                                                         1                                PROOF OF SERVICE
                                                                         2                                  Nersoyan v. COLA
                                                                                                           Case No. CV19-08109
                                                                         3

                                                                         4              STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                                                                         5         I am employed in the County of Los Angeles, State of California. I am over
                                                                         6   the age of 18 and not a party to the within action. My business address is 21515
                                                                             Hawthorne Blvd., Suite 800, Torrance, California 90503.
                                                                         7

                                                                         8         On October 26, 2020 I served the following document described as:
                                                                             DEFENDANT’S SEPARATE STATEMENT OF UNDISPUTED MATERIAL
                                                                         9   FACTS AND CONCLUSIONS OF LAW on all interested parties in this action
                                                                        10   by placing [X] a true copy [ ] the original thereof enclosed in sealed envelopes
                                                                             addressed as follows:
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12                                  Counsel for Plaintiff
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800




                                                                                                         Michael S. Devereux, Esq.
                                 TORRANCE, CALIFORNIA 90503




                                                                        13                    WEX LAW A PROFESSIONAL LAW CORPORATION
                                                                                                     1880 Century Park East, Suite 1101
                                                                        14                                Los Angeles, CA 90067
                                                                                                            Tel: 213-986-9844
                                                                        15
                                                                                                            Fax: 213-342-6190
                                                                        16                                Email: mike@wex.law

                                                                        17          [X] (BY MAIL, 1013a, 2015.5 C.C.P.)
                                                                        18
                                                                                   [X] I am readily familiar with the firm’s practice for collection and
                                                                        19   processing correspondence for mailing. Under that practice, this document will be
                                                                             deposited with the U.S. Postal Service on this date with postage thereon fully
                                                                        20
                                                                             prepaid at Torrance, California in the ordinary course of business. I am aware that
                                                                        21   on motion of the party served, service is presumed invalid if postal cancellation
                                                                             date or postage meter date is more than one day after date of deposit for mailing in
                                                                        22
                                                                             affidavit.
                                                                        23
                                                                                    [X] (FEDERAL) I declare that I am employed in the office of a member
                                                                        24   of the bar of this Court at whose discretion the service was made.
                                                                        25
                                                                                   Executed on October 26, 2020 at Torrance, California.
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                                                                        27
                                                                                                                    /s/ Marianne M. Guillinta
                                                                                                                    Marianne Guillinta
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                                                                             ______________________________________________________________________________
                                                                                             SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
